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MCGUIRE WOODS LLP;

‘ SUSAN L. GERMAISE #3576595-

1800 Century Par_k Ea'_st, 8 Floor
Los Angeles Cahfornla 90067
Telephqne; §310)_315-8200
Facslmlle: 10) 3_15-8210
sgennaise cgulrewoods.com

Attomeyé for Defendant
Nations Recovery Center, Inc.

Plaintiff,

VS.

lH c‘ L(/ 51 VE
,Defendants.

__S_¢:NPYPORD» ' _._E.D `__CV_

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z UNITED sTATES DISTRICT COURT
cENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION

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28 U.S.C_. 1441£13
(FEDERA QU hTION)

.(SRemoVed from San Bernardino County

u erior Court, Case No.: CIV VS
12 1696_)

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To THE CLERK oF THE CoURT:

` -PLEASE TAKENOTICE that pursuant to § 28 U.S.C. 1441 (b), defendant ,
Nations Recovery Center, lnc. (“NRCI”) by and through its attorneys, removes to
this Court the action described beiow: ' `

l The Original State Court Ac'tion
l. 7 On April 6, 2012, Plaintiff Sandy F ord (“Plaintiff’) filed a summons
and complaint in'th'e Superior Court of the State ofCalifornia, County of San

Bernardino, entitled Sandy Ford v. Fz`ngerhul, Narions Recove_ry Center, Inc, Case '

No. CIV VS 1201696. v

2. On May 7, 2012, NRCI Was served With the Surnrnons, Cornplaint, `
Certiticate of Service, Certiticate of Assignrnent and Civil Case Cover Sheet in this
action, true and correct copies of Which are attached hereto as collectively Exhibit
"A." NRCl has not received or been served With any pleadings in this matter other
than the foregoing documents, nor has NRCI answered, moved, or otherwise pled
With respect to the Complaint. All defendants consent to this removal.

731 This Notice of Removal `is being filed vvithin 30 days-of receipt of the
Cornplaint by NRC_I in accordance With 28 U. S. C. §144.6(b) k n

`4. Plaintift’s Cornplaint alleges that Defendant violated the F.air Debt
Collections Prac-tices Act. (Compl. 1111 4-10.)

_` Removal Jurisdiction
5. The removal Statute, 28 U.S.C. § 1441 , provides bases for the removal

of a state court action to federal court. Among other things, section 144l(a)`states

that “[e]xcept as otherwise expressly provided by `Act of Congress, any civil action

brought in a State court of Which the district courts of the United States have -
original jurisdiction, may be removed by the defendant or defendants, to the district
court of the United States for the district and division embracing the place Where

such action is pending.”

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` 6. This is a civil action of which this court-has original jurisdiction under
28 U.S.C. '1331, and is one that may be removed to this Court by defendant pursuant
tor28 U.S.C. 1`44l(b) in` that it arises under 15_ U.S.C. § 1692(k)(d) as it is for '
purported violations of the Fair Debt Clollection Practices Act. v
7. This Notice of Removal is timely filed. -Under 28 U.S.C. § l446(b), the
Notice of Removal must be filed within thirty days of receipt of the initial pleading l
setting forth the claim. Defendant_ NRCI received the summons and complaint in

this-action on l\/[ay 7, 2012. This action is therefore timely removed under 28

`U-.S.C. § 1446, as defendant NRCI received the summons and complaint thirty days

before the date of removal.

8. Venue lies in the United States` District Court for the Central District of
California 4 Eastern Division, pursuant to 28 U-.S.'C. § 1391(b) and l441(a) and ' §
because the 'state`action was filed in this District and this is the judicial district in
which the action arose. -

l9. ' NRCI\ will cause notice of this removal to be filed in Case No.' CIV VS
1201696 with the Superior Court of the State of California, County of San l
Bernardino. A copy of this Notice to State Court of Rerno_val to Federal Court is
attached hereto as Exhibit ‘?B” (without exhibits). n ` 7

_ WHEREFORE, Defendant NRCI prays that the above action now pending in
the Superior Court of the State of California, in and for the County of San

'Bernardino,be removed therefrom to this Court.

¢DATED; June`4, 2012 McGuirewo§ds 'LLP`

Byl: /s/ Susan L. Germaise

 

- Susan L.Germaise
iattorneys for Nations Recovery Center,
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M_FSERWQE

STATE OF CALIFORNIA, COUNTY OF LOS ANGELES

1 am employed in the County of Los Angeles, State of California. I am over the age of

eighteen years and not a party to the within action; my business address is 1800 Century Par_k
East, 8th Floor, Los Angelcs, CA 90067-1501.

Under 28 U. S. C. § 1441(b) (Federal Question) on the interested parties in this action by placing _

On June 4, 2012 1 served the following document(s) described as Notice of Removal

true copies thereof enclosed` m sealed envelopes addressed as follows:

Wiliiam .1. Campbell, Esq.

The Palmer Firm, P.C.

11690 Pacific Avenue, Suite 110
Fontana, CA 92337

Attomeysfor PlaianSandy Ford

BY MAIL: I am “readily familiar” with the firm’ s practice of collection and processing
correspondence for mailing with the United States Postal Service. Under that practice, it
Would be deposited with the United States Postal Service that same day 1n the ordinary
course of business. Such envelope(s) Were placed for collection and mailing With postage
thereon fully prepaid at Los Angeles, CA, on that same day following ordinary business ‘
practices. (C.C.P. § 1013 (a) and 1013a(3))

BY FACSIMILE: At approximately ,1 caused said document(s) to be transmitted
by facsimile pursuant to Rule 2008 of the California Rules of Court. The telephone
number of the sending facsimile machine Was 310.315.8210. The name(s) and facsimile
machine telephone number(s) of the person(s) served are set forth m the service list. The
document Was transmitted by facsimile transmission and the sending facsimile machine
properly issued a transmission report continuing that the transmission was complete and
without error.

 

BY OVERNIGHT DELIVERY: 1 deposited such document(s) in a box or other facility
regularly maintained by the overnight service carrier, or delivered such document(s) to a
courier or driver authorized by the overnight service carrier to receive documents, in an
envelope or package designated by the overnight service carrier with delivery fees paid or
provided for, addressed to the person(s) served hereunder. (C.C.P. § 1013(d)(e))

BY HAND DELIVERY: I delivered such envelope(s) by hand to the office of the
addressee(s). (C. C. P. § 1011(a)(b))

BY PERSONAL SERVICE: 1 personally delivered such envelope(S) to the addressee(s).

(CCP§1mn

l declare under penalty of perjury under the laws of the State of California that the

foregoing ls true and correct.

Executed on June 4, 2012, at Los Angeles, C_A.

anna /@é£a

' Dorothea Kiker

 

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Sendy Ford 1 ., _ ¢C® cliva 1231§'7:17¢\ _

CERT|FICATE OF ASS|GNMENT
Fingerhut'., et a]..

 

 

A civli action or proceeding presented for illing must be accompanied by this certificate if the ground is the residence
Of a peny, name and residence shall be stated

 

The undersigned declares that the above-entitled matter is filed for proceedings in the
District of the Superior Court under Ruie 404 of this court for the checked reason:

 

El Generei t i:i collection

- Nat.ure of notion Ground
l::| 1 Adoption Petilioncr resides within the district
i:.l 2 Conservetcr Fet|lloner or ccnservatee`resldes within the district
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i“_“;] 7 4 Equity rita catrett erection arose within the district
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|"_'_| 7 Guardieneh|p - Petltioner cr ward resides within the district or has property within the distrlcl.
t:i B Herasernent Pla|rrtlff, defendant petitioner or respondent resides within the district
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[:I 12 Personei Propeity The property is located within the district
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m 16 Title to Renl Property The property is located within the district
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i`_'_`,] iii Unlawfu| Detotncr The property is located within the districtr '
l:] 19 Dornestic V|oience The petitioner, defendantl pieintifi or respondent resides within the district
EJ 20 other

 

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1 true PALMER FIRM, P C. ,QRF`JU§.TM
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FONTANA, CA 92337
4 Telephone: i909}581“7348
Facsimile: (909)581#?534

5 ' .
Attorney for Plaintiff: SANDY FORD
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SUPERIOR COURT OF CALIEORNIA
B ,
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12 pLAINTIFF' CHMPLAINT FOR _

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FINGERHUT. NATIONS RECOVERY

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15 cENTt:-:R, INC., DOES 1 THROUGH 100,

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23 Plaintiff elleges:

 

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`26 1. At all times herein mentioned Plaintiff dandy Ford.is and was

27 an individual residing in the County of San Befnerdino, State of

28 California.

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CUMPLHINT

 

 

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Case 5:12-CV-00893-VAP-OP Document 1 _ Filed 06/04/12 P_age 10 of 37 Page |D #:25

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2. At all times herein mentioned Defendant Eingerhot, and each of

them, is and was a business entity form unknown, engaged in business

in_the County of San Bernardino, State of Californie.

3. At all times herein mentioned Defendant Nations Recovery

Center, Inc., and each of themr is and was a business entity form'

unknown, engaged in business in the County of San Bernardino, State of

California.

4. The true names and eapacities, whether individual, corporate,
associate or otherwise of the Defendants named herein as Does 1
through'lOOL inclusivei are unknown to Plaintiff, who therefore sues
said Defendants by such fictitious namea. Plaintift will amend this
complaint to show their true names and capacities when the same are
ascertained. Plaintiff is informed and believes and cna that bases
alleges that each of the fietitiously named Defendants are responsible
in some manner for 1the occurrences herein alleged, and that
Plaintiffs' damages herein alleged were proximately caused by such
Defendants.

5. Plaintiff is informed and believes and on that basis alleges
that at all times here in mentioned each of the Defendants were the

agent, servant, and/or employee of their eo~Defendants, and in doing

¢the things hereinafter mentioned,_were aeting in the scope of their

anthority as such agents, servants and employees with the permission
and consent of their eo- Defendents. l n n

6. This action is brought for penalties and damages due to
violations of -the Rosenthal Fair Debt Colleotion ?raetices Act,
california Civil bode § 1788 et Seq.,:California Civil Code § 1785 et

seq., violation of the right of privacy; violation of a statutory

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Case 5:12-CV-00893-VAP-QP Document 1 Filed 06/04/12 Page ll of 37 Page |_D #:26

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dutyr Ereach of Contract, Breach of the Covenant of.Good Faith and
2 ' . .
Fair'Dealing, and negligent infliction of emotional distress.
3 .
7. In enacting the Rosenthal Fair Debt Collection Practices Act,
4 . ,
California Civil.Code § 1?88 et-seq., the California Legislatnre made
5 _ ,
- the following findings:
6
7 ` “The 'banking and credit system and grantors of
‘ `credit to consumers are dependent upon the collection of
8',_7~_ just and owing debts. .Unfair or deceptive collection
19 ` practices undermine the public confidence which is"
‘ essential to the continued function of the banking and
iu_ credit system and sound extensions of credit to
consumers. There is need to ensure that deht.collectors
11 and debtors exercise their responsibilities to one
_ another with fairness, honesty and due regard for the
12 rights.of the other. `It is the purpose of this title to
7 ` prohibit debt collectors from engaging in unfair or
13 deceptive' acts or practices in the collection of
consumer debts and to require debtors to act fairly in
14 entering into and honoring such debts, as specified in
15 .this title.” (Cali£ornia Civil Code section 1788.1}
16 s. In enacting the Federal rair oebt collection Praotices Act, _15
17 U-S.C. `section 1692 et seq., the Federal Legislature made the
18 following findings:
19 "
20 “[t]here is abundant evidence of the use of
abusive, deceptive and unfair debt collection practices
.21 by many debt .collectors. Abusive debt_ collection
practices contribute f\to the number of personal
22 bankruptcies, to marital instability, to the loss of
jobs and to invasions of individual privacy. Existinq
23 laws and procedures for redressing these-injuries are
24 ` inadequate to protect- consumers. Means other than
misrepresentation. or abusive debt collection practices
25 are available for the effective collection of `debts.
Abusive debt collection practices are carried on to.a
26 Substantial extent in interstate 'commerce _and through
means and. instrumentalities of such commerce. Bven
27 where abusive debt collection practices are purely
intrastate in character, they nevertheless_ directly
25 affect interstate commerce. lt is the purpose of this
subchapter tol_ eliminate abusive debt collection
` 3
COMPLAIN'I`

 

 

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5:12-cV-00893-VAPjQP Document 1 Filed 06/04/12 Page 12 of 37 Page |D #:27

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practices by debt collectors, to insure that_those debt
collectors who refrain from using abusive debt
collection prectices. are not competitively
disadvantaged, and to promote consistent State action to
protect consumers against debt collection abuse” [15
U.S.C. §1692a)

LNEM______AL_,__LEGMQ.N..§

9, Plaintiff incorporates by reference and reallegee each and
every allegation contained in paragraphs l through B above as though
fully set_forth herein.

lO.rDefendants Fingerhut, and each of them, engage in hueinees,
of which a major portion is `the collection of consumer debts.

Defendante Fingerhut, and each of them, regularly and in the ordinary

course of business attempts to collect consumer debts alleged to be_

dne.
11§ Sometime during or prior to 2007, Plaintiff allegedly created
account ending 9383 with Defendants Fingerhut, and each of them, and

therefore incurred a financial obligation primarily for personal,

family or household purposes. These obligations allegedly went into.

default for late payment. n

12. On or about July 20, 200?, Plaintiff, in an effort to resolve
this debt; retained the services of The Palmer Firm, P.C., a law firm
that-provides assistance to consumers struggling with coneumer~related
debt iesues. 17 ,

13. on or about Juiy 24, 200'1, The Palmer Fim, 'P.c. gent a
letter of representation to Defendante Fingerhut, and each of them,
(eee Exhibito “A" attached hereto). The letter notified Defendante
Fingerhut, and each of them, that Plaintiff was represented by counsel
regarding accounte ending 9363 and instructed Defendante Fingerhut,

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commerce _

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Case 5:1_2-CV-00893-VAP-OP Document 1 Filed 06/04/12 Pag_e 13 of 37 Page |D #:28

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and each of them, to cease communication with Plaintiff from that _
point forward. The letter also specified that Plaintiff was not to he
contacted at their place of employment and demanded verification.

14. On or about June 12, 2008 Defendants Fingerhut, and each of

'them, andy Plaintiff,_ reached an agreement to pay in full account

ending 9383 for $495.00. (see Exhibit “B“ attached hereto],

Defendants li‘i)':\gerhu’c:_r and each of them,. agreed to lsettle in full'

account ending 9383 if Plaintiff paid $495.00 on or before July 12,
20001 The full amount Defendants Fingerhut, and each of them, alleged
was owed was $TEl.OO.VDn June 17, 2000 check number 21606 was issued
to Defendants Fingerhut, and each of them, for $495.00 as agreed (see
exhibit “t” attaches hereco>. cheek 21606 clearsa'¢:m Juiy 9, 2003.

15. On or before Decemher 09, 2011 Defendants Fingerhut, and each

of them, retained Defendant Nations Recovery Center, Inc. to represent

them to third parties for the purposes of alleging an amount due and

collecting on account ending in 9383 thereby creating an agent-
principal relationship. ` ` -

116; lt is beliesed that Defendants Fingerhuti and each of them,
subsequently sold or otherwise transferred the alleged account ending
in 9383 to Defendant$ Nations Recovery Center, Inc., and each of them.

17. lt is believed that when Defendants Fingerhut, and each of

them, sold or otherwise 'transferred account ending in 9383 to

.Defendants Nations Recovery Center,-Inc.. and each of them, Defendants

Fingerhut, and each of themr informed Defendants Nations Recovery
¢enter, Inc., and each of them, that the account_ending in 9303 was
still owed in the amount of $266;00.

lH. On or about December 09,.201l, Defendants Nations Recovery

Center, Inc..r and each of them, intentionally and maliciously

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Case 5:12-CV-00893-VAP-OP Document 1 Filed 06/04/12 P_age 14 of 37 Page |D #:29

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contacted Plaintiff by mail at home for the purposes of alleging an
amount due and collecting on account ending in 1706-mee Exhibit “D*"
attached hereto) ' 7

19.P1aintiff believes and on that basis alleges that Defendants,
and each of them, intentionally continued to represent that account
ending 9383 was still due and owing after it wee settled and directly
contacted Plaintiff for the purposes of maliciously causing Plaintiff
to suffer mental _anguish So that Plaintlff would pay the debt
defendants, and each of.them, alleged Plaintiff owed. Additionally,
the collection attempt was made with intent and malice to falsely
represent a debt is due to collect money that Defendants, and each of
them, were not entitled to. n

20. Plaintiff believes and On that basis alleges that Defendants,
and each of themr intentionally continued to represent that account
ending 9333 was still due and owing after it was settled and contacted
Plaintiff for the purposes of oppresaing Plaintiff and caueing cruel
and unjust hardship so that Plaintiff would pay the debt Defendants,
and each of them, alleged Plalntiff owed-

21. ns a result of the actiona of Defendants, and each of them,
Plaintiff has suffered serious and compensable-injury in the form of
anger,' anxiety, emotional distress, fear, frustration, upset,
humiliation, v embarrassmenti ' mental suffering, grief, and

inconvenience.

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Case 5:12-7CV-00893-VAP-7_(_;;)_E Document 1 Filed 06/04/12 Page 15 of 37 Page |D #:30

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FIRS'J.‘ C.NJBE DF AC'I'ION l
- (VIOLATION OE‘ THE RDSENTHAL FAIR` DEB'I' COLLECTION PRACTI'.CES ACT -_
Against Defendants Fingerhut, Nations Recovery Center, Inc.,

and Does 1-20>

22. Plaintiff incorporates by reference and realleges each and
every allegation contained in paragraphs 1 through 21 above as though
fully set forth herein. n

'23. Defendants are “debt collectora” as defined by California
Civil Code section 1706.2(¢). v

24. Plaintiff is a “debtor” as defined by California Civil Code
section 17¢3.2(h).

25. Plaintiff is a “consumer” as defined by 15 U.S.Cl section
1692€[d) and 15 U.S.C. 1692&{3);

26, Defendante' actions `violated 'the Rosenthal Fair Debt
Collection Pcaotices nct. Defendants' violations inelude, but are not

limited to, the following:

(a) Attempting to collect a debt amount that is not expresslyl

anthorized by an agreement or permitted by law. California Civil Code
section 1?96.17 adopting 15 u.s.c. § 1692£¢13.
(b) Falsely representing the characterr amount, or legal status

of the alleged debt. California Civil Code section 1783.1? adopting

_15_ u.s.o. §1592§(2> ca).

(o) _Communicating or threatening to communicate to any person
credit information. which is known or which should be known toy be
false. Californla Civil Code section 1768.17 adopting 15 U.S.C.

§16926(9).

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Case 5:12-CV-00893-VAP;QP Document 1 Filed 06/04/12 P_age 16 of 37 P.age |D #:31

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1 {d) Initiating communication with Plaintiff when Defendants were

2 previously notified in writing that Plainti-ff' was represented by an
3 attorney. California Civil Code section 1?88;14(0). l

4 l (e} Initiating communication with Plaintiff when Defendants knew

5 or‘had reason to know that Plaintiff was represented by an attorney

6 and the attorney*s name and contact information are-known or can be

7 readily ascertained. California Civil Code section lTBB.lT adopting
8 15 n.s.c. section issza(a)(z). `

9 27. ns a. proximate result of the above mentioned 'violations,~
10 Plaintiff has suffered, as herein alleged, actual damages in the form
11 of anger, anxiety, emotional distress, fear, frustration, upset,
12 humiliation, embarrassment, amongst other negative emotions, as well
13 as suffering' from unjustified and abusive invasions of personal
14 \p.tivacy. - n n nn vi n .‘.
15 .-1 - ' ._ : '

_. ZB. As a result of each and every Defendants' violations of the
16 Rosenthal tait Debt Colleotion Practices Aet, elaintiff is entitled to
17 actual damages pursuant to California 'Civil-Code section -1788-30{¢'1),
le statutory damages in the amount of '$'1,000 pursuant toeCal.i,fornia -Civil
19 Code section 1786,30{1:)), and reasonable attorneys fees and costs
20 pursuant to Calitornia Citri`l lCc:l'de section 1738.30{0}. from_each and
21 every `Defendant herein. 7
22 29.._11'1 pursuingl their egregious, and unlawful debt collection
:_: efforts against 'Pla-in_`tiff, D'efendants,"and each of them, acted nith
2 Malice,' oppre`ss.'i.on, and 'fr'aud as defined by California Civll code

5 seatian'?,zgac<:):l'), cz)', c3>. ' ` ` ` l
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Case 5:12-0\/- 00893- \/-AP QP Document 1 Filed 06/04/12 Page 17 of 37 Page |D #: 32

 

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SECOND CAUSE OE' ACTION
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{VIOLATION GF PLAINTIFF'S RIGHT OF PRIVACY_ BY INTRUDING INTO PRIVATE
3
AFFAIRS ~ Rgainst Defendants Eingerhut, Nations Recovery Center, Inc.,
4
and Does 21- 40)
5 .' ; ..\. '. -'
6 _ ' . .
' 30. Plaintiff incorporates by reference and realleges each and
.7 .
` every_allegation contained in paragraphs 1 through 29 above as though
_8 ‘
fully set forth herein.
9 ' .
31. Plaintiffs at all times mentioned herein has and continues to
10 -
‘ have a reasonable expectation of privacy at their home.
11 .
332. Defendants, and each of them, intentionally intruded on
12 - _
- Plaintiff's privacy by' mailing Plaintiffs' home in an attempt to
13 ' .
' collect a debt that had been settled.
14 . _ _ _
33. The intrusion of `Defendants, and each of them, would be
' 15 _ .
highly`gffeneive to a reasonable person.
16 ' ' 7 , l .V
34. In pursuing 'their `egregious, and unlawful debt collection
17 - 1
efforts aqainst Plaintiff,‘Defendants, and each of them, acted with
18 ' .
Malice, oppression, and fraud as defined by California Civil Code
19
section_3294{€l(l)r (2), (3)-
20 1 .
35. ns a result of the collection, action Plaintiff has been
21 . 7 _
harmed in the form of 'anger, anxiety, emotional distress,. fear,
22 ‘ .
frustration, upset. humiliation;-embarrassment, amongst other negative
23 . ' , 1
emotions.
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Case 5:12-CV-00893-VAP-Q:P Document'l Filed 06/04/12 Page 18 of 37 Page |D #:33

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THIRD CAUSE~OF AC'.|.‘IQN
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Fingerhnt, Nations Recovery Center, lnc., and Does 41~60)

36, Plaintiff incorporates by reference and realleges each and
every allegation contained in paragraphs l through 35 above as though

fully set forth herein.

37. The consumer debt collection field is extensively regulated
by california State Law. The.Rosenthal Feir Debt Colleotions Praotices

` Act, California Civil Code'seotion 1788 et seq;, and the Federal Fair

Debt Collections Praotices Act, 15 U.S.C. §1692 et seq., was enacted
to protect alleged debtors from debt collection activity that is
unfair, deceptive, or harassing.` Plaintiff is an alleged debtor and
is an eaa an injured member of the public for whose benefit The
Rosenthal Feir Debt Collections Praotices nct,-California Civil Code
section 1788 et seq. and the Federal Fair Debt Collections Practices
Act, 15 U. S. C. §1692 et seq. was meant to protect

38. Defendants, and each of them, violated the statutory duty
imposed on Defendants, and each of them, and are thus liable under the
doctrine of “Tortwln Se." n

39. In pursuing their eqregicus, -and-'nnlawfnl debt collection
efforts against Plaintiff, Defendants, and each of them, acted with

Malice, Oppression, and Fraud as _defined by California Civil Code

section 3294(¢)<1), (2)`, ca1 .`

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Case 5:12-CV-00893-VAP-QP Document 1- Filed 06/04/12 Page 19 of 37 Page |D #:34

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Foun'rn chose or Ao'.r::oN
(Breach of Contract against Defendants Fingerhut],r Nations Recovery

Center, Inc., and Does 61 - BO)

40. Plaintiffe incorporate by reference and reallege each and
every allegation contained in paragraphs l through 39 above as fully

set forth herein.
41. On or about June 12, 2008, a written General ngreement was
executed between Plaintiff and Defendants Fingerhut, and each of them,

in which Defendante Fingerhutr and each of them; would consider the

account ending 9383 settled in' full with. no further amount. due or

owing upon the receipt of payment in the amount of $495;00.

421 Plaintiff' fully' performed all conditions, covenants, and
promises to be performed under the agreement,

43. `hfter Plaintiff had fully performed 7all conditions,
covenants, and promises Defendants_Fingerhut, Nations Recovery Center,
Ino., and each of them.l breached the agreement by considering account
9393 still due and owing.

44. As a proximate result of the breachr as herein. alleged,

Plaintiff has been damaged in an amount according to proof.

FIFTH CAUSE OF AGTIUN
(Breach of Covenant of Good Feith snd_Fair Dealing against Defendants

Fingerhut, Natione Recovery Center, Inc., and Does 61 - 1001

45. Plaintiff incorporate _by reference and reallege each and
every allegation contained in paragraphs l through 42 above as fully

set forth herein.
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COMPLAINT

EXHlB|T "A"r '

 

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Case 5:12-CV-00893-VAP-Q_P Document 1 F'i|ed 06/04/_12 Page 20 of 37 Page |D #:35

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46. On or about Juue 12, 2008, a written General Agreement was
executed between Plaintiff and Defendants`Fingerhut, and each of them,

in which befendants Fingerhut, and each of them, would consider the

account ending 9383 settled in full with_ no- further amount due orr'

owing upon the receipt of payment in the amount of $495. 00.

QT. The agreement contained an implied covenant of good faith

and fair dealing by which Defendants Fingerhut,, and each of them,

promised to perform under the contract in a manner of a standard of a

professional organization; to complete the terms as promised; to
perform within in a reasonable time frame and to 1refrain from
committing any act that would prevent or impede Plainti£fs' enjoyment

of the fruits of said agreement. Specifically, said covenant of good

faith ana fair dealing required oeranaanta singer-hue and each or

them, to fairly and reasonably perform the terms of the contract and
not do anything that would be detrimental to Plaintiff’s_interests.

`48- Defendants Fingerhnt, and each of them. breached this

rimplied covenant of good faith and fair dealing by moving forward with

collection attempts, by considering account 9363 Still due and owing,
and. by selling account ending 9383 to Defendants Nations Recovery
Center, Inc. , and each of them, so they could collect on the account.

49. ns a direct and proximate result of the Defendants'.breach

of the implied_covenant`of good faith and fair dealing, Plaintiff has

been damaged in an amount according to proof.

'WHEREFORB, Plaintiffs pray for judoment`against-Defendants, and each
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of them as follows;
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Case 5:12-CV-00893-VAP;QP lDo_Cument 1 Filed 06/04/12 Pag_e 21 of 37 Page |D #:36

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First gause of Action:

1. For actual damages, in an amount to be proven at trial,

`pursuant to California Civil Code section 1788,30(a), along with

prejudgment interest thereon at the legal rate of interest until paid
in full or the date judgment is entered;
2_ For punitive damages, in an amount to be proven at trial,

pursuant to California Civil Code section 3294{a){ along 'with

prejudgment interest thereon at the legal rate_of interest until paid

in full.or the date judgment is entered;

3. For statutory damages pursuant to California Civil rCode
section 1?58.30(b1 in the.amount of $l,OOO;

4. For Plaintiff's reasonable attorneys fees and costs incurred
in connection herewith pursuant to California Civil Code aection
1739.30(¢),- ana `

5. For such other relief as the Court may deem just and proper.

On The Seoond-Cause Of Action:

 

l. ' For compensatory damages in an amount according to proof
along with prejudgment interest thereon at the legal rate of interest
until paid in full or the date judgment ia entered.

2. For punitive damages, in an amount to be proven at trial,
pursuant to California Civil Code' section 3294(a), along with
prejudgment interest thereon at the legal rate of interest until paid
in full or the date judgment is entered:

3. For euch other relief_ as rthe Court may deem just and
proper. 7 -

On The Fourtn Cauae Of Action:

 

l. For actual damages. attorneys fees and costs pursuant to

california civil code section 1785,31(3\)' cl) . '

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Case 5:12-cV-00893-VAP-`QP Document 1 Filed 06/04/12 Page 22 of 37 Page |D #:37

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2. Eunitive damages ‘in the amount of $5,000 pursuant to
california civil code section 1195.31¢3)¢2):5).

¢3. :For"such. other relief as the Court may deem just and
proper._ n
951 The ruth cause of net-icm

'l.‘ For compensatory' damages in an amount according to proof
along with prejudgment interest thereon at the legal rate of interest
until paid in full or the date judgment is entered.

2; For such other relief as the Court may deem. just _and
proper. -

On The sixth Cause Of Action:

1. ' For compensatory damages in an amount according to proof'

along with prejudgment interest thereon at the legal rate of interest
until Paid in full or the date judgment is entered.
`2.' For such other relief 'as the Court` may 'deem just and

proper§

Dated: Maroh l3r 2012 _ - THE

 

BY

 

wir}ea$ James campbell
Attorney for Plaintiff
sandy sara

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CCMPLAINT

ExH!slT “A"r

 

 

Case 5:12-CV-0089`3-VAPjOP Document 1 Filed 06/04/12_ Pe}ge 23 of 37 Page |D #:38

EXHIBIT A _

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Case 5:12-CV-00893-VAP-OP Documentl Filed 06/04/12

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July 24.` 2007

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RE-. ‘ sandy Ford
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To Whorrl it May Conccm: 7

Thls law lirm represents the above referenced ccnsurner. Based on the information
provldcd. our client disputes the claim and requests vorilicollon of the alleged debt
Verilicait|on should include all documents evidencing the debt lncludlng. but not limited
to: any document signed by our client with reconcile the dcbt such as controcts.
notes lessen cr other written agrecrn snlc. each invoice or transaction record and any
. other loan documents: ledgorc; or. other documents reflecting all l:l:lni.iidnrot|onl
poyme'nts, offsets and creditc. Furthar. request is mode for all documents that will
demonstrate when this debt was lirst due orthot ills not barred by tila statute of
limitationsl - _ _

.Uniess you have initiated litigation against our client by the lilan of a lawsuit
' demand in made that you Immcdlateiy cease ali attempts to contact our client by letter
or by phono, al home or at ourclisnt's place cf nmpioymentl Shculd you wish to
discuss this alleged debt you may do so, once the requested documentation has been
delivered, by contacting the undersigned al the above mailing address. Wa request
that all communication regarding this matter bo conducted in writing, Thls latter is not
to bn construed as a formal appearance in any litigated matter

.Vory truly yours.

The Pa|mor Fllm
Robert Polmel_'

EXH|B|T "A"¢,

 

Page 24 `oi 37 _ Page iD #:39

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'Case 5:12-CV-00893-VAP-QP Document 1 Filed 06/04/12 Peig'e 25 of 37 Page |D #:40

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EXHIBIT B

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EXHIBIT C'

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Case 5:12-0\/- 00393- VAP- QP Document 1 Filed 06/04/12 Page 28 of 37 Page |D #: 43

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Case 5:12-CV-00893-VAPjQP Document 1 Filed 06/04/12 Page 29 of 37 Page |D #:44

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EXHIBIT D

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Case 5: 12- -C\/- 00893- VAP- _GP Document 1 Filed 06/04/12 Page 30 of 37 Page |D #: 45

 

 

 

 

 

 

 

 

   
   
 
 
  

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IN RE= FORD vs FINGERHUT, etal

NOTICE OF CABE ASSIGNMENT FOR ALL PURPOSES
NOTICE OF CASE MANAGEMENT CONFERENCE AND ORDER TO SHOW CAUBE\
- REGARDING SERVICE OF SUMMONS AND COMPLAINT

'PLEASE TAKE NOTICE, that the above-entitled Case has been eet'for a
Caee Menagement Conference and an Order to Show Cauee why the cane
should not be dismissed for failure to serve the summons and 7
complaint. File your Case Menagement Statement with the court fifteen
(15] calendar dave prior to the hearing. Failure to appear may reeult
in monetary sanctions and/or dismissal of your caee; THIS cASE HAS
BEEN ASSIGNED TO BTEVE C MALONE IN DEPARTMENT V9 FOR ALL PURPOSES.

The Order to Show dance regarding service of summons is set:

08/15/12 at 3:30 in Department VB. If proof of ' -
service of summons and complaint has been filed before`that date, no
appearance is required at the time of the order to show Cause'hearing.
The Caae Management'€onference is eet; 10/11/12 at' 8:30

in Department v9. _ - , '¢

TO'THE PARTY SERVED: The setting of these dates DOES NOT increase the
time you_have to respond to the oomplaint. The-time for reapenee is
clearly stated on the Summons.

A COPY OF THIS NOTICE MUST BE SERVED ON ALL DEFENDANTS
Stephen H. Nneh, Clerk of the Court

Date: 04/11/12 __ ` . 7 Ey:'VANESKA DIEDERICH

`- cERTIFIcATE on SERVICE - '
I am.a Deputy rlerk of the Superior Court for the County of San
Bernardino at the above listed addrese. I am not a party-to thie_
action and on the date and piece shown below, I served a copy of the `
above listed notice by: »

qj/Enolosed in an envelope mailed to the interested party addressed
a ove, for collection and mailing this dete,'following-ordinery
business practice. \ ` ;

( ) Encloeed in a sealed envelope, first class postage prepaid in the
U.S. mail et the location shown above, mailed to`the interested party
and addreseed as shown above, or as shown on the attached listing.

t ) A copy of this notice was given to,the filing party at the'
counter. ' - . - ` ' _ "'

[ } A copy of-;his notice was placed in the bin located et-thie office
and identifieF as the location for the above law firm's collection of
file stamped d cumente. . - ' ,

DATB oF MAILino=.ow{ii}iz

I declare under penalty of perjury that the foregoing ie true and
correct. ercuted On 04{11/12.Et Victorville, CA By: VABESKA DIEDERICH

7 ,EleBlT -"A"._

 

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MCGUIREWOODS LLP

Susan L. Germaise, SBN #176595_
1800 Century Park East

8th Floor

Los Angeles, CA 90067
Telephone: 310.31'5 8200

' Facsimile: 310. 315. 8210

sgermaise@mcguirewoods.com

Auomeys for NATIONS RECOVERY cENTER, INC.

SUP_ERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF SAN BERNARDINO

SANDY FORD, ease No. cw Vs 1201696

Plaintiff, NOTICE TO STATE COURT OF FILING
OF REMOVAL
VS.

FINGER HUT, NATIONS.RECOVERY
CENTER, INC. and DQES 1'_ 10,

Defendants.

 

 

TO THE CLERK OF THE SUPERIOR COURT OF THE STATE OF CALIFORNIA, FOR THE
COUNTY OF SAN BERNARDINO, INTERESTED PARTIES AND ATI`ORNEYS OF
REC_ORD: '

PLEASE TAKE NOTICE that on June 4, 2012, Defelidant NATIONS RECOVERY
CENTER, INC. filed a Notice ofRemoval of Civil Action to the`United States District Court for

of the United States District Court for the Central District of California f Bastem Division. n
Attaehed hereto as` Exhibit “ 1” is a tfue and correct copy ef the Federal Civil Case Coversheet,
.Notice of Removal (.Without exhibits) and Notice of Interested Parties.

PLEASE TAKE FURTHER NOTICE that on June 4, 2012, Defendant NATIONS

39676558.| ' l

the Eastem District of California pursuant t_o 28 U,S.C. § 1441 (Federal Question) With the Clerk n

 

 

NOTICE TO STATE COURT OF F]LTNG OF NOTICE OF REMOVAL
EXH|B]T "B'_' _

 

Case

 

exhibit-51

39676558.|

 

DATED: J`un@ `4, 2012 '

Attomeys for Defendant NATIONS RECOVERY
CENTER, INC.

NOT[CE TO STATE COURT OF FlL.ING OF NOTICE

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EXH|B_|T "B" '

' ` McGuireWoods LLP

_B'y: W

`SZlZ-CV-OOSQS-VAP'-VO.P DOC_Um€nt l Filed 06/04/12 Page 33 Of 37 Page |D #:48

RECOVERY CEI\T'I`ER2 INC. filed ethice to State Court of Filing Ochtice cf.Removal With
'the Cl'fe'rk of the San Bern_ardino C`oun-tyr Superi'or Court of'the. State cf California, together W`ith .a
copy of the Notice of Rem'oval cf'Civil .A'cticn to the United‘States`Distri`ct Court for the C'em'ral

District of Cal-ifomi'a - Eastem Divieiod pursuant to 28 U.S.C. '§ 1441 (F ederal Question) (v/{thcut

`Susan L, Germaise

OF REMOVAL

 

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5:12-cv-00893-VAPjQP Document 1 Filed 06/04/12 Page 34 of 37 Page |D #:49

‘_ PRooF or snnvlcn
sTATE oF CALIFoRNiA, Couer or Los ANGELES

l am employed in the 'County of Los Angeles, State of`California. I am over the age of
eighteen years and not a party to the 'Within action; my business address'is 1800 Century P-arl<
East,_ 8th Floor, Los Angeles, CA 9006_7-1501.

On J'une¢l, 2012, l served the following document(s) described as `N'ofice'to State Court
of Fili.ng‘ of Removal- on the interested parties in this action by placing true copies thereof
enclosed in sealed envelopes addressed as follows:

Will_iarn J. Carnpb_e_ll,. Esq. 7 ` - _Arromcysfor §Iuintij"$andy Ford
The Palm`e'r Firr`n, P.C. '

11690 Paciti"c Avenue, Suite 110

`Fo`ntana, CA 92337

LY_| BY MAIL: l am “readily familiar” With the firm’s practice of collection and processing
correspondence _for' mailing with the United States Posital Service. Under that practice, it
vvould be deposited With the United States Postal Service that same day in the ordinary
courseof businessl Such envelope(s) Were placed for collection and mailing With postage
thereon fully prepaid at Los Angeles, CA, on that same day following ordinary business
practices (C.C.P. § 1013 (a) and 1013a(3)) .

|:l ' BY_F-ACSIMILE: Atapproximately _, l caused said document{s) to be transmitted
by facsimile pursuant to Rule_ 2008 of the California Rules of Court. The telephone
number of'the_ sending facsimile machine Was 310.315,.8_210. The name(S`) and facsimile
machine telephone number(s) of the person(s) served are set forth in .theservice list. Tlie_
document Was transmitted by facsimile transmission, and the sending facsimile machine
properly issued a transmission report coniirrningthat the transmission 'Was complete and
Without' error. .

 

['_`| BY OVERNI'GHT ])_ELIVERY:` l deposited such document(s`) in a box or other facility

' regularly maintained by the overnight service 'carrier,. or delivered such document(s) to a
courier or driver authorized by the overnight service carrier to receive documentsJ in an
envelope or package designated by the overnight service carrier With delivery fees paid or
provided for, addressed to the person(s)' served hereunder. (C.C.P. § 1013(d).(e))

l:| BY I~IAND DELIVERY: _I delivered such envelope(S) by hand t`o the oiii-ce of the
addressee(s)6 _(C.C.P. § 101 l(a)(b))
(C.C.P. § 1011)

l declare under penalty of perjury under the laws of the State of-C-alifornia that the '
foregoing is true and correct '

Executed_on June 4, 2012, at Los .Angeles', CA.

Weer maj

Dorothea Kil<er

 

 

EleB-lT "B" ’

_|:| BY PERSON_AL SERVI`CE: l personally delivered such envelope(s) to` the addressee(s).

 

Case 5:12-cV-00893-VAP-OP Document 1 Filed 06/04/12 Page 35 of 37 Page |D #:50

UNITED STATES DISTRICT COURT_
CENTRAL DISTRICT OF CALIFORNIA

NOTICE OF ASSIGNMENT TO UNITED STATES MAGISTRATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Virginia A. Phillips and the assigned
discovery Magistrate Judge is OSWald Parada.

The case number on all documents filed with the Court`should read as follows:

nncvlz~ 893 vAP (01=::)

Pursuant to General Order 05-07 of the United States District Court for the Central
District of Califomia, the Magistrate Judge has been designated to hear discovery related
motions

     

 

' "All~'§'discoveryrelated motions should be noticed on the calendar of the Magistrate Judge

NoncE 1'0 cou NsEL

A copy of this notice must be served with the summons and complaint on ali defendants (if a removal action is `
tiled. a copy of this notice must be served on` ali plaintiffs).

' Subsequent documents must be liled at the following location:

Western Division |'._] Southern Division - [)(] Eastem Division
7312'N. Sprlng St., Rm. G-B 411 West Fourth St., Rm. 1-053 3470 Twelfth St., Rm. 134

Los Angeles, CA 90012 ' Santa Ana, CA 92701-4516 Riverslde, CA 92501

Fallure to file at the proper location wl|| result |n your documents being returned to you.

 

CV-1B (03/06) NOT|CE OF ASS|GNMEN'l' TO UNITED STATES MAGISTRATE JUDGE FOR DlSCOVERY

 

 

Case 5:12-0\/- 00893- VAP- OP Document 1 Filed 06/04/12 Pa e 36 of 37 Page |D #: 51
UNITED sTATES DISTRICI‘ COURT, CENTRAL DISI‘RI OF CA_LIFQRNIA

 

CIV[L COVER SHEET
. I (a] PLAINTIFFS (Check box if you are representing yourself El) _ 7 DEFENDANTS
Sandy Ford _ Fingerhut, Nations Recovery Centei‘, lnc.

 

(b) Attomeys (Fiml Narno, Address and Telephono Number. ll` you are representing Attomeys (lf Krlown)

 

 

Y°““”°'f P'°"'d° 5‘""°) _ - . ` McculRE wooos LLP, sus'AN 1.. GERMAlsE 4116595
Wl'lliam .1- Carr11>111|. Th¢ Pvim=r F11111» P-C- ' _ _ 1300 century Parlc east ah Floor. Los Angeles, caliromia 90061
l1690 Pacific Avcnue Fomana. CA 92337 'rel: 310-315-3200; Fax: 310-315-8210
'l`el! 909-53 l -7343; FBX: 909-581¢7534 - ggemqai§e@mcuirewoods,com
ll. BASIS OF JURISDICT|ON (Plaoe an X in one box only.) III. Cl'l'lZENSHlP OF ?RINC!PAL PART|ES- For Dlversity Cases_ Only
` (Place an X in one box for plaintiff and one for defendant ]
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ofParties in ltem lll) ~ ofBllsinGSS irl Another State
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lV. ORIGIN (Place an X ln one box only. )

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Proceeding State Court Appellate Court Reopencd l District l Judge From `
. .- ‘ - I..itig,ation _ Magistrate Judge

 

V. REQUES'I`ED IN COMPLA]NT: JURY DEMAND: E(Yee |Il No (Check ‘Yes only lf demanded 111 complnim.)
` CL'ASS' ACI'ION '\lmler F. R. C. P. 23: El Yo$ l{NO ` l:l MONEY DEMANDED `IN COMPLAI,NT:'$

Vl. CAUSE OF ACTION (Cile the U. S. Civil Slalute under which you are li|irlgand write a bnef statement of cause Do not cite jurisdictional statutes unless diversily. )
lS U. S. C § 1692(k}(d)', Fair Debt Collections Pmctices Act removal bmd upon 28 U. S. C. 1441(b)

VII. NATU'RE GF SUl'l` (Plaee 1111 X' 111 one box only. )

 

 

 

     
 

 
       

    

  
 
 

 

   
 
 

    

     

 

 
 

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Case 5:12-cV-00893-VAP-OP 'Documen't 1 Filed 06/04/12 Page 37 of 37 Page |D #:52

UNITED STATES DISTRICT COURT, CENTRAL DlSTRlCT OF CALlFORNIA
CIVIL COVER SHEET

V'lI](n). IDENTICAL CASES: l-las this action been previously filed in this court and dismissed remanded or closed'l leo |:l Yes
ifyes, list case number(s):

 

VI_.Il(b) RELATED CASES: Have any cases been prcviouslyl filed 1n this_ court that are related to the present case'? |E(No |I| Yes
lf yes, list case number(s):

 

Civi'l cases are deemed related il`a previouslyl liled case and the present casc:

(Check all boxes that apply) |I| A Arise from the same or closely related transactionsj happenings or events', or
l:| B. Call for determination ofthe same or substantially related or similar questions oflaw and fact', or
|;| C. For other reasons would entail substantial duplication oflabor if heard by differentjudges; or

l:| D. lnvo|ve the same patent', trademark or copyright B one of the factors identified above in a, b or c also is present.
l
IX. VENUE: (When completing the following inforrnation, use arl additional sheet ifnecessary.)

(a) List the County in this District; Ca|ifornia County outside of this Districl', State if other than Califomia; or Foreign Country, in which EACH named plaintiff resides
|:l Check here if the govemment, its a_g_cncies or employees is a named plaintiff lf this box is ohecked, go to item (b).

 

 

County in this Districti"r ' California County outside ot`lhis Dis_bict; State, if other than Calit`ornia,' or Foreigrl Counlry
San Bemardino '

 

(b) List the County in this Disb'ict', Califomia County outside of this District‘, State if other than Calif`omia.; or Foreign Country, in which EACH named defendant resides
|I| Check here if the govemment, its agencies of employees isa named defendant If this box is checked, go to item (c). '

 

County irl this District:* ' Califomia County outside ofthls Dislnct; Stale, if other than Ca.lifornla; or Forei r1 Coun
g '~l')'

 

Minnesota (Fingerhut); Georgia (Nations Recovery Center, Inc.)r

 

 

 

 

(c)'_ List the County ln this Dislrict', Callfomia County outside ofthis District; State if other than Ca|ifornia; or Foreign Country, in which EACH claim arose.
' Note: ln land condemnation cases, use the location of the tractofland involved.

 

County in this Districl:* Callfornia County outside ofthis District', State, if other than California; or Forei nCoun
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San Bernardino

 

 

 

 

* Los Angeles, Orange, San Bcrnardino, Riverside, Ventura, Santa Barbar:l, or San Lnis Obispo Counties n
Note: ln land condemnation cases use the location of the tract of la d involved
x.' sloNATuRE or ArronNEv ron Pno PER): 75 . ;< ' nine J““€ 41 2012
Notice to Connsel/Partics: n The CV-”l'l (JS-¢14) Civil Cover Sheet and the information contained herein neither replace nor supplement the filing and service of pleadings

or other papers as required by law. This form, approved by the 1 udicial Confcrence of the United States in'September 1974, is required pursuant to Local Rule 3-1 is_ not filed
but is used by the Clerk of the Court for the purpose of statistics, venue and initiating the civil docket sheet (For more detailed instructions, see separate instructions sheet.)

 

 

 

Key to Statistlcal codes relating to Social Sccurily Cases:

Nature of Suit Code Abbreviatioo Substantivc Statement ol` Cause ol`Action

861 - HIA A|| claims for health insurance benefits (Medl`care) under Title 18, Parl A, of the Social Security Act, as amended
A|so, include claims by hospitals, skilled nursing facilities, etc., for certiiicatiorl as providers of services under the
program (42 U.S.C.1935FF(b))

862 n ' iElL All claims for “Black Lung" benefits under Tltle 4 Part B of the Federal Coal Mine Health and Safety Act of 1969
' (30 U. S. C. 923)
863 DIWC All claims filed by insured workers for disability insurance benefits under 'i`l`tle 2 of the Social Security Act; as
amended', plus all claims filed for child’s insurance benefits based on disability (42 U.S.C. 405(g))
863 DlWW All claims filed for widows or widowcrs insurance benefits based on disability under Tit|e 2 ofthe Social Security
Act, as amended. (42 U.S.C. 405(g)}
864 SSID All claims for supplemental security income payments based upon disability filed under Titlc 16 of the Socia| Security
- Act, as amended
865 RSI All claims for retirement (old age) and survivors benefits under Title 2 ofthe Social Security Act, as amended (42
U.S.C. (g))

 

CV-'."l (05/[)8) ` CIVIL COVER SHEET` Page 2 of2

